
717 S.E.2d 737 (2011)
STATE
v.
Jackie Ray ANDERSON.
No. 382A11-1.
Supreme Court of North Carolina.
October 6, 2011.
Derrick Mertz, Assistant Attorney General, for State of North Carolina.
Michael J. Reece, Smithfield, for Anderson, Jackie Ray.
Howard S. Boney, Jr., District Attorney, for State of North Carolina.
The following order has been entered on the motion filed on the 4th of October 2011 by State of NC:
"Motion Allowed by order of the Court in conference, this the 6th of October 2011."
State of NC shall have up to and including the 21st day of October 2011 to file and serve his/her brief with this Court.
